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 7   Attorneys for Creditor
     Washington Trust Bank
 8

 9                         UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF WASHINGTON
10
     In Re:                                           NO. 21-00141-WLH11
11
     EASTERDAY RANCHES, Inc., et al,                  ADV. No. 21-80010-WLH
12
                                     Debtor(s).
13                                                    CERTIFICATE OF COMPLIANCE
                                                      WITH LBR 9019-2 (MEDIATION)
14   WASHINGTON TRUST BANK,

15
                                      Plaintiff(s),
16
     v.

17   EASTERDAY RANCHES, INC;
     EASTERDAY FARMS; CODY
18   EASTERDAY; DEBBY EASTERDAY;
     KAREN EASTERDAY; individually and
19
     in her capacity as personal representative
     of the Estate of Gale Easterday,
20
                                     Defendant(s).
21

22

23             Pursuant to Bankruptcy Rule 9019-2, 1 certify as counsel for Plaintiffs, that

24
     mediation has been considered to resolve the dispute.
25

26
                                                                                 LAW OFFICES OF

                                                                          LUKINS & ANNIS, PS
                                                                       A PROFESSIONAL SERVICE CORPORATION
     CERTIFICATE OF COMPLIANCE WITH                                         717 W Sprague Ave., Suite 1600
                                                                                 Spokane, WA 99201
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     5/28/21


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               DATED this 28th day of May, 2021.
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 3                                             LUKINS & ANNIS, P.S.

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                                               By: /s/ Burke D. Jackowich
 5
                                                    TREVOR R. PINCOCK
 6                                                  WSBA #36818

 7                                                  JED W. MORRIS
                                                    WSBA #13832
 8                                                  BURKE D. JACKOWICH

 9                                                  WSBA #31722

10                                                  Attorneys for Plaintiffs

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                                                                               LAW OFFICES OF

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     5/28/21


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                                CERTIFICATE OF SERVICE
 1
               I HEREBY CERTIFY that on the 28th day of May, 2021, 1 electronically
 2

 3   filed the foregoing with the Clerk of the Court using the CM/ECF system which

 4
     will send notification of such filings to all registered participants in the CM/ECF
 5
 g   system in this case.

 7

 8             SIGNED this 28th day of May, 2021, at Spokane, Washington.
 9
                                               LUKINS & ANNIS, P.S.
10

11                                             By/s/ Sheana Loomis
                                                  SHEANA LOOMIS
12
                                                  Legal Assistant

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                                                                                  LAW OFFICES OF

                                                                          LUKINS & ANNIS, PS
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     LBR 9019-2 (MEDIATION): 3                                                   Fax: (509)747-2323




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